                          9th District Attorney General’s Office
                          Drug and Violent Crimes Task Force
                                    1008 Bradford Way
                                    Kingston TN 37763

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                            State of Tennessee
                       Office of the 9th District
                            Attorney General




                   Report of Forensic Findings
                            2024-CDIV-0214
     Agent Cortney E. Dugger MSDF|MBA|CFCE
                          1008 Bradford Way
                         Kingston TN, 37763




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                                           Synopsis of Investigation
On February 14, 2024, Deputy RJ Leonard conducted an arrest of Tabatha Smith at approximately 9:47 PM on
the Highway 60 Bridge in Birchwood, Tennessee. During transport, Deputy Leonard transmitted what appears
to be ‘water’ at 10:03 PM. After an exhaustive search, Leonard’s 2010 Police Crown Victorian was located in
the Chickamauga reservoir at the end of Blythe’s Ferry Road. According to Leonard’s spouse, he had purchased
a GPS device out of pocket to use for navigation while on duty. The initial inventory of the vehicle concluded
that there was no navigation system located in the vehicle. According to Leonard’s spouse and MCSO Chief
Deputy Malone, the vehicle that he was driving was not his usual patrol car as it was in the shop for repairs.
Chief Malone confirmed that the GPS unit was not in the vehicle being repaired. On March 18, 2024 THP
Sergeant John Mcfarland notified the author of this that he had seen a GPS unit while pulling the ECM and
PCM from the vehicle. On March 19, 2024, I, Agent Dugger, picked up the Garmin 52 EX at the Chattanooga
THP seizure lot, it was found lying in the driver seat of Leonard’s cruiser. Trooper Cameron Azbill transferred
the device to the 9th District Attorney General’s Office. The section of this report will be labled Part 1 Garmin.
Leonard’s iPhone belonging to Leonard was also recovered from his tactical vest. This phone was extracted by
THP on 4/2/2024 and the data shared with the author of this report in order to filter the data covering the call
and accident on 2/14/2024. The section of this report will be labled Part 2 iPhone.


                                              Part 1 Garmin GPS
                                                      Tools
Garmin Express 7.21.0.0
Garmin BaseCamp version 4.7.5
Google Earth Pro 7.3.6.9796
Microsoft Excel
Creworks Digital Ultrasonic Cleaner
Hairdryer
Dehumidifier
EDAS Fox Forensic Machine




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                                                  The Device
The device, found lying on the front driverside floorboard, was water logged and caked in mud. On scene, the
device was tilted left and right to let any water escape the case. Additionally, the heavy mud was removed and
the item placed in a bag. The device was lying with the power cord.
Garmin Drive 52 EX
SN: 75Q168633
Recovered: 3/19/2024


The device was transported to the District Attorney General’s Office located at 1008 Bradford Way, in
Kingston. In order to eliminate any moisture from the device, it was disassembled drained and the circuit board
dried with compressed air prior to attaching to a dehumidifier for several days. The original LCD display as
well as the battery were assumed to be unrepairable and were not reconnected to the circuit board at anytime
after disassembly. The photos of the recovered device are below:




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Figure 1 Garmin disassembled




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Figure 2 System board and chip




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A donor unit was purchased to transition the recovered Garmin board in order to use the battery and screen to
run the device. Prior to installing the board in the donor unit, the board was sprayed with generic scrubbing
bubbles, cleaned with a soft bristle brush and processed in an ultrasonic cleaner as follows:
   1. 2500 MLs of distilled water
   2. 250 MLs of parts cleaning solution Elma Tec Clean A1 Electronics and PCB Ultrasonic Cleaner
      Solution, 10.8 pH, 10 L
   3. 50 Celsius for 2.5 minutes, flipped and repeated
   4. Removed device from the ultrasonic cleaner and air blasted
   5. Dipped the device in 91% alcohol and air blasted
   6. Placed device on mat and air dried with air dryer on cool setting for 20 minutes
   7. Device was then placed on top of server pull fan for approximately 72 hours




Figure 3 Chip cleaning generic scrubber




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Figure 4 Ultrasonic Cleaner




Figure 5 System Board in Ultrasonic Cleaner




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Figure 6 System Board in 91% alcohol




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Figure 7 Board air dried


Once the device was thoroughly cleaned, the donor device was disassembled, and the circuit board was installed
into the donor unit. The evidence board appeared to be free of cracks or physical damage with the exception
that the power button would not operate.



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Figure 8 Donor device




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After the unit was charged the Garmin Connection screen displayed on the repaired device.




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                                        116.5°                   14-Feb-2024   N35° 23.837' W84°
271 746 ft     0.2 mi    0:00:09 78 mph true                     09:34:23 PM   54.357'
                                        111.5°                   14-Feb-2024   N35° 23.762' W84°
272 720 ft     461 ft    0:00:05 63 mph true                     09:34:32 PM   54.171'
                                        93.6°                    14-Feb-2024   N35° 23.734' W84°
273 712 ft     152 ft    0:00:02 52 mph true                     09:34:37 PM   54.084'
                                        93.4°                    14-Feb-2024   N35° 23.732' W84°
274 708 ft     164 ft    0:00:03 37 mph true                     09:34:39 PM   54.054'
                                        93.9°                    14-Feb-2024   N35° 23.731' W84°
275 705 ft     33 ft     0:00:01 22 mph true                     09:34:42 PM   54.021'
                                        92.9°                    14-Feb-2024   N35° 23.730' W84°
276 705 ft     22 ft     0:00:01 15 mph true                     09:34:43 PM   54.014'
                                        183.8°                   14-Feb-2024   N35° 23.730' W84°
277 704 ft     27 ft     0:00:01 18 mph true                     09:34:44 PM   54.010'
                                        199.5°                   14-Feb-2024   N35° 23.726' W84°
278 704 ft     23 ft     0:00:01 16 mph true                     09:34:45 PM   54.010'
                                        199.4°                   14-Feb-2024   N35° 23.722' W84°
279 702 ft     35 ft     0:00:01 24 mph true                     09:34:46 PM   54.012'
                                        199.8°                   14-Feb-2024   N35° 23.717' W84°
280 702 ft     43 ft     0:00:01 29 mph true                     09:34:47 PM   54.014'
                                        199.6°                   14-Feb-2024   N35° 23.710' W84°
281 701 ft     388 ft    0:00:06 44 mph true                     09:34:48 PM   54.017'
                                        199.8°                   14-Feb-2024   N35° 23.650' W84°
282 701 ft     0.1 mi    0:00:07 67 mph true                     09:34:54 PM   54.043'
                                        201.1°                   14-Feb-2024   N35° 23.544' W84°
283 710 ft     0.2 mi    0:00:08 83 mph true                     09:35:01 PM   54.090'
                                        201.1°                   14-Feb-2024   N35° 23.394' W84°
284 708 ft     0.2 mi    0:00:07 79 mph true                     09:35:09 PM   54.161'
                                        201.3°                   14-Feb-2024   N35° 23.269' W84°
285 721 ft     0.2 mi    0:00:07 81 mph true                     09:35:16 PM   54.220'
                                        200.9°                   14-Feb-2024   N35° 23.141' W84°
286 716 ft     0.3 mi    0:00:10 94 mph true                     09:35:23 PM   54.281'
                                        195.7°                   14-Feb-2024   N35° 22.930' W84°
287 696 ft     0.2 mi    0:00:08 95 mph true                     09:35:33 PM   54.380'
                                        188.8°                   14-Feb-2024   N35° 22.753' W84°
288 716 ft     0.3 mi    0:00:10 96 mph true                     09:35:41 PM   54.441'
                                 100    183.6°                   14-Feb-2024   N35° 22.525' W84°
289 697 ft     0.3 mi    0:00:10 mph    true                     09:35:51 PM   54.484'
                                 102    198.4°                   14-Feb-2024   N35° 22.284' W84°
290 712 ft     0.2 mi    0:00:06 mph    true                     09:36:01 PM   54.503'
                                 101    200.1°                   14-Feb-2024   N35° 22.145' W84°
291 729 ft     0.5 mi    0:00:18 mph    true                     09:36:07 PM   54.560'

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                                        198.4°                   14-Feb-2024   N35° 21.734' W84°
292 704 ft     0.3 mi    0:00:11 92 mph true                     09:36:25 PM   54.744'
                                        201.3°                   14-Feb-2024   N35° 21.503' W84°
293 712 ft     0.1 mi    0:00:05 87 mph true                     09:36:36 PM   54.838'
                                        206.6°                   14-Feb-2024   N35° 21.406' W84°
294 712 ft     0.2 mi    0:00:09 94 mph true                     09:36:41 PM   54.885'
                                        209.2°                   14-Feb-2024   N35° 21.224' W84°
295 702 ft     0.3 mi    0:00:12 94 mph true                     09:36:50 PM   54.996'
                                        209.5°                   14-Feb-2024   N35° 20.987' W84°
296 710 ft     0.3 mi    0:00:14 89 mph true                     09:37:02 PM   55.159'
                                        209.2°                   14-Feb-2024   N35° 20.726' W84°
297 750 ft     0.3 mi    0:00:13 89 mph true                     09:37:16 PM   55.340'
                                        211.3°                   14-Feb-2024   N35° 20.481' W84°
298 718 ft     0.4 mi    0:00:14 91 mph true                     09:37:29 PM   55.508'
                                        214.7°                   14-Feb-2024   N35° 20.219' W84°
299 748 ft     0.3 mi    0:00:14 90 mph true                     09:37:43 PM   55.703'
                                        215.1°                   14-Feb-2024   N35° 19.970' W84°
300 770 ft     0.3 mi    0:00:14 89 mph true                     09:37:57 PM   55.914'
                                        215.0°                   14-Feb-2024   N35° 19.725' W84°
301 734 ft     0.3 mi    0:00:11 83 mph true                     09:38:11 PM   56.126'
                                        215.2°                   14-Feb-2024   N35° 19.543' W84°
302 750 ft     0.2 mi    0:00:08 74 mph true                     09:38:22 PM   56.281'
                                        215.0°                   14-Feb-2024   N35° 19.427' W84°
303 781 ft     0.1 mi    0:00:09 53 mph true                     09:38:30 PM   56.382'
                                        215.0°                   14-Feb-2024   N35° 19.333' W84°
304 762 ft     314 ft    0:00:06 36 mph true                     09:38:39 PM   56.462'
                                        215.2°                   14-Feb-2024   N35° 19.291' W84°
305 773 ft     26 ft     0:00:01 18 mph true                     09:38:45 PM   56.499'
                                        291.9°                   14-Feb-2024   N35° 19.288' W84°
306 775 ft     41 ft     0:00:01 28 mph true                     09:38:46 PM   56.502'
                                        309.4°                   14-Feb-2024   N35° 19.290' W84°
307 775 ft     32 ft     0:00:01 22 mph true                     09:38:47 PM   56.509'
                                        307.0°                   14-Feb-2024   N35° 19.293' W84°
308 775 ft     41 ft     0:00:01 28 mph true                     09:38:48 PM   56.514'
                                        303.3°                   14-Feb-2024   N35° 19.297' W84°
309 773 ft     297 ft    0:00:05 41 mph true                     09:38:49 PM   56.521'
                                        303.3°                   14-Feb-2024   N35° 19.324' W84°
310 759 ft     0.1 mi    0:00:06 62 mph true                     09:38:54 PM   56.571'
                                        313.0°                   14-Feb-2024   N35° 19.374' W84°
311 740 ft     0.1 mi    0:00:06 67 mph true                     09:39:00 PM   56.663'
                                        329.9°                   14-Feb-2024   N35° 19.440' W84°
312 732 ft     0.1 mi    0:00:07 66 mph true                     09:39:06 PM   56.750'

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                                        338.5°                   14-Feb-2024   N35° 19.536' W84°
313 729 ft     0.2 mi    0:00:10 66 mph true                     09:39:13 PM   56.819'
                                        319.6°                   14-Feb-2024   N35° 19.684' W84°
314 724 ft     0.1 mi    0:00:06 67 mph true                     09:39:23 PM   56.890'
                                        305.7°                   14-Feb-2024   N35° 19.757' W84°
315 710 ft     0.1 mi    0:00:08 67 mph true                     09:39:29 PM   56.966'
                                        303.7°                   14-Feb-2024   N35° 19.833' W84°
316 707 ft     0.2 mi    0:00:10 58 mph true                     09:39:37 PM   57.096'
                                        303.7°                   14-Feb-2024   N35° 19.911' W84°
317 727 ft     255 ft    0:00:05 35 mph true                     09:39:47 PM   57.239'
                                        304.3°                   14-Feb-2024   N35° 19.935' W84°
318 732 ft     16 ft     0:00:01 11 mph true                     09:39:52 PM   57.282'
                                        215.6°                   14-Feb-2024   N35° 19.936' W84°
319 732 ft     26 ft     0:00:01 17 mph true                     09:39:53 PM   57.285'
                                        215.8°                   14-Feb-2024   N35° 19.933' W84°
320 732 ft     31 ft     0:00:01 21 mph true                     09:39:54 PM   57.288'
                                        215.4°                   14-Feb-2024   N35° 19.929' W84°
321 732 ft     42 ft     0:00:01 28 mph true                     09:39:55 PM   57.291'
                                        215.8°                   14-Feb-2024   N35° 19.923' W84°
322 732 ft     46 ft     0:00:01 32 mph true                     09:39:56 PM   57.296'
                                        215.6°                   14-Feb-2024   N35° 19.917' W84°
323 732 ft     430 ft    0:00:07 42 mph true                     09:39:57 PM   57.302'
                                        215.5°                   14-Feb-2024   N35° 19.859' W84°
324 753 ft     57 ft     0:00:01 39 mph true                     09:40:04 PM   57.352'
                                        243.8°                   14-Feb-2024   N35° 19.852' W84°
325 756 ft     54 ft     0:00:01 37 mph true                     09:40:05 PM   57.359'
                                        258.8°                   14-Feb-2024   N35° 19.848' W84°
326 757 ft     45 ft     0:00:01 31 mph true                     09:40:06 PM   57.369'
                                        277.7°                   14-Feb-2024   N35° 19.846' W84°
327 759 ft     46 ft     0:00:01 32 mph true                     09:40:07 PM   57.377'
                                        295.0°                   14-Feb-2024   N35° 19.847' W84°
328 764 ft     51 ft     0:00:01 35 mph true                     09:40:08 PM   57.387'
                                        294.7°                   14-Feb-2024   N35° 19.851' W84°
329 767 ft     54 ft     0:00:01 37 mph true                     09:40:09 PM   57.396'
                                        289.8°                   14-Feb-2024   N35° 19.855' W84°
330 773 ft     0.1 mi    0:00:09 43 mph true                     09:40:10 PM   57.406'
                                        278.6°                   14-Feb-2024   N35° 19.886' W84°
331 831 ft     444 ft    0:00:06 51 mph true                     09:40:19 PM   57.513'
                                        263.4°                   14-Feb-2024   N35° 19.897' W84°
332 866 ft     73 ft     0:00:01 50 mph true                     09:40:25 PM   57.602'
                                        261.8°                   14-Feb-2024   N35° 19.896' W84°
333 871 ft     0.1 mi    0:00:10 54 mph true                     09:40:26 PM   57.616'

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                                        259.6°                   14-Feb-2024   N35° 19.877' W84°
334 925 ft     134 ft    0:00:02 46 mph true                     09:40:36 PM   57.773'
                                        275.0°                   14-Feb-2024   N35° 19.873' W84°
335 928 ft     63 ft     0:00:01 43 mph true                     09:40:38 PM   57.800'
                                        278.9°                   14-Feb-2024   N35° 19.874' W84°
336 928 ft     66 ft     0:00:01 45 mph true                     09:40:39 PM   57.812'
                                        279.0°                   14-Feb-2024   N35° 19.876' W84°
337 925 ft     63 ft     0:00:01 43 mph true                     09:40:40 PM   57.825'
                                        296.6°                   14-Feb-2024   N35° 19.878' W84°
338 923 ft     58 ft     0:00:01 40 mph true                     09:40:41 PM   57.838'
                                        306.2°                   14-Feb-2024   N35° 19.882' W84°
339 920 ft     58 ft     0:00:01 39 mph true                     09:40:42 PM   57.848'
                                        306.3°                   14-Feb-2024   N35° 19.887' W84°
340 918 ft     52 ft     0:00:01 35 mph true                     09:40:43 PM   57.858'
                                        289.8°                   14-Feb-2024   N35° 19.892' W84°
341 914 ft     54 ft     0:00:01 37 mph true                     09:40:44 PM   57.866'
                                        263.0°                   14-Feb-2024   N35° 19.895' W84°
342 909 ft     54 ft     0:00:01 37 mph true                     09:40:45 PM   57.876'
                                        253.4°                   14-Feb-2024   N35° 19.894' W84°
343 904 ft     49 ft     0:00:01 33 mph true                     09:40:46 PM   57.887'
                                        253.6°                   14-Feb-2024   N35° 19.892' W84°
344 901 ft     63 ft     0:00:01 43 mph true                     09:40:47 PM   57.896'
                                        250.3°                   14-Feb-2024   N35° 19.889' W84°
345 898 ft     71 ft     0:00:01 48 mph true                     09:40:48 PM   57.909'
                                        249.4°                   14-Feb-2024   N35° 19.885' W84°
346 896 ft     76 ft     0:00:01 52 mph true                     09:40:49 PM   57.922'
                                        249.3°                   14-Feb-2024   N35° 19.881' W84°
347 893 ft     82 ft     0:00:01 56 mph true                     09:40:50 PM   57.936'
                                        250.6°                   14-Feb-2024   N35° 19.876' W84°
348 891 ft     367 ft    0:00:05 50 mph true                     09:40:51 PM   57.952'
                                        259.5°                   14-Feb-2024   N35° 19.856' W84°
349 876 ft     58 ft     0:00:01 39 mph true                     09:40:56 PM   58.021'
                                        278.4°                   14-Feb-2024   N35° 19.854' W84°
350 873 ft     55 ft     0:00:01 38 mph true                     09:40:57 PM   58.033'
                                        293.7°                   14-Feb-2024   N35° 19.856' W84°
351 869 ft     57 ft     0:00:01 39 mph true                     09:40:58 PM   58.044'
                                        293.6°                   14-Feb-2024   N35° 19.860' W84°
352 863 ft     64 ft     0:00:01 43 mph true                     09:40:59 PM   58.054'
                                        293.9°                   14-Feb-2024   N35° 19.864' W84°
353 858 ft     68 ft     0:00:01 46 mph true                     09:41:00 PM   58.066'
                                        293.6°                   14-Feb-2024   N35° 19.868' W84°
354 854 ft     442 ft    0:00:06 50 mph true                     09:41:01 PM   58.078'

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                                        293.6°                   14-Feb-2024   N35° 19.897' W84°
355 846 ft     68 ft     0:00:01 46 mph true                     09:41:07 PM   58.160'
                                        293.7°                   14-Feb-2024   N35° 19.902' W84°
356 844 ft     130 ft    0:00:02 44 mph true                     09:41:08 PM   58.173'
                                        278.2°                   14-Feb-2024   N35° 19.910' W84°
357 841 ft     64 ft     0:00:01 44 mph true                     09:41:10 PM   58.196'
                                        272.0°                   14-Feb-2024   N35° 19.912' W84°
358 838 ft     63 ft     0:00:01 43 mph true                     09:41:11 PM   58.209'
                                        271.4°                   14-Feb-2024   N35° 19.912' W84°
359 835 ft     376 ft    0:00:07 37 mph true                     09:41:12 PM   58.222'
                                        256.8°                   14-Feb-2024   N35° 19.914' W84°
360 833 ft     21 ft     0:00:01 14 mph true                     09:41:19 PM   58.298'
                                                                 14-Feb-2024   N35° 19.913' W84°
361 835 ft     12 ft     0:00:01 8 mph      0.0° true            09:41:20 PM   58.302'
                                                                 14-Feb-2024   N35° 19.915' W84°
362 833 ft     18 ft     0:00:01 12 mph 2.9° true                09:41:21 PM   58.302'
                                                                 14-Feb-2024   N35° 19.918' W84°
363 831 ft     27 ft     0:00:01 19 mph 3.1° true                09:41:22 PM   58.301'
                                                                 14-Feb-2024   N35° 19.922' W84°
364 830 ft     35 ft     0:00:01 24 mph 2.4° true                09:41:23 PM   58.301'
                                                                 14-Feb-2024   N35° 19.928' W84°
365 827 ft     287 ft    0:00:05 39 mph 2.9° true                09:41:24 PM   58.301'
                                                                 14-Feb-2024   N35° 19.975' W84°
366 819 ft     524 ft    0:00:06 60 mph 2.8° true                09:41:29 PM   58.298'
                                        353.1°                   14-Feb-2024   N35° 20.061' W84°
367 811 ft     0.1 mi    0:00:06 70 mph true                     09:41:35 PM   58.293'
                                                                 14-Feb-2024   N35° 20.162' W84°
368 811 ft     210 ft    0:00:02 71 mph 0.9° true                09:41:41 PM   58.308'
                                        11.6°                    14-Feb-2024   N35° 20.197' W84°
369 813 ft     103 ft    0:00:01 70 mph true                     09:41:43 PM   58.307'
                                        12.6°                    14-Feb-2024   N35° 20.213' W84°
370 813 ft     105 ft    0:00:01 72 mph true                     09:41:44 PM   58.303'
                                        21.8°                    14-Feb-2024   N35° 20.230' W84°
371 811 ft     107 ft    0:00:01 73 mph true                     09:41:45 PM   58.298'
                                        21.8°                    14-Feb-2024   N35° 20.246' W84°
372 811 ft     107 ft    0:00:01 73 mph true                     09:41:46 PM   58.290'
                                        21.9°                    14-Feb-2024   N35° 20.263' W84°
373 813 ft     104 ft    0:00:01 71 mph true                     09:41:47 PM   58.282'
                                        21.9°                    14-Feb-2024   N35° 20.279' W84°
374 813 ft     98 ft     0:00:01 67 mph true                     09:41:48 PM   58.274'
                                        15.2°                    14-Feb-2024   N35° 20.294' W84°
375 816 ft     87 ft     0:00:01 60 mph true                     09:41:49 PM   58.267'

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                                                                 14-Feb-2024   N35° 20.307' W84°
376 817 ft     87 ft     0:00:01 59 mph 5.5° true                09:41:50 PM   58.262'
                                        358.5°                   14-Feb-2024   N35° 20.322' W84°
377 820 ft     79 ft     0:00:01 54 mph true                     09:41:51 PM   58.261'
                                        355.9°                   14-Feb-2024   N35° 20.335' W84°
378 824 ft     78 ft     0:00:01 53 mph true                     09:41:52 PM   58.261'
                                        349.2°                   14-Feb-2024   N35° 20.347' W84°
379 827 ft     78 ft     0:00:01 53 mph true                     09:41:53 PM   58.262'
                                        349.1°                   14-Feb-2024   N35° 20.360' W84°
380 825 ft     77 ft     0:00:01 53 mph true                     09:41:54 PM   58.265'
                                        339.6°                   14-Feb-2024   N35° 20.372' W84°
381 824 ft     81 ft     0:00:01 55 mph true                     09:41:55 PM   58.268'
                                        332.8°                   14-Feb-2024   N35° 20.385' W84°
382 820 ft     87 ft     0:00:01 59 mph true                     09:41:56 PM   58.274'
                                        331.5°                   14-Feb-2024   N35° 20.398' W84°
383 813 ft     0.1 mi    0:00:06 70 mph true                     09:41:57 PM   58.282'
                                        321.4°                   14-Feb-2024   N35° 20.487' W84°
384 784 ft     0.1 mi    0:00:05 81 mph true                     09:42:03 PM   58.341'
                                        323.3°                   14-Feb-2024   N35° 20.564' W84°
385 773 ft     499 ft    0:00:04 85 mph true                     09:42:08 PM   58.416'
                                        334.6°                   14-Feb-2024   N35° 20.629' W84°
386 768 ft     124 ft    0:00:01 84 mph true                     09:42:12 PM   58.476'
                                        341.6°                   14-Feb-2024   N35° 20.648' W84°
387 767 ft     124 ft    0:00:01 84 mph true                     09:42:13 PM   58.487'
                                        344.0°                   14-Feb-2024   N35° 20.667' W84°
388 765 ft     121 ft    0:00:01 83 mph true                     09:42:14 PM   58.495'
                                        344.4°                   14-Feb-2024   N35° 20.686' W84°
389 762 ft     120 ft    0:00:01 82 mph true                     09:42:15 PM   58.502'
                                        342.9°                   14-Feb-2024   N35° 20.705' W84°
390 761 ft     0.1 mi    0:00:05 76 mph true                     09:42:16 PM   58.508'
                                        331.4°                   14-Feb-2024   N35° 20.793' W84°
391 751 ft     108 ft    0:00:01 74 mph true                     09:42:21 PM   58.541'
                                        327.3°                   14-Feb-2024   N35° 20.809' W84°
392 750 ft     106 ft    0:00:01 72 mph true                     09:42:22 PM   58.552'
                                        320.3°                   14-Feb-2024   N35° 20.823' W84°
393 748 ft     107 ft    0:00:01 73 mph true                     09:42:23 PM   58.563'
                                        312.5°                   14-Feb-2024   N35° 20.837' W84°
394 746 ft     109 ft    0:00:01 74 mph true                     09:42:24 PM   58.577'
                                        308.6°                   14-Feb-2024   N35° 20.849' W84°
395 746 ft     109 ft    0:00:01 74 mph true                     09:42:25 PM   58.593'
                                        303.5°                   14-Feb-2024   N35° 20.860' W84°
396 745 ft     110 ft    0:00:01 75 mph true                     09:42:26 PM   58.610'

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   _____________________________________________________________________________________
                                        297.7°                   14-Feb-2024   N35° 20.870' W84°
397 746 ft     114 ft    0:00:01 78 mph true                     09:42:27 PM   58.629'
                                        295.8°                   14-Feb-2024   N35° 20.879' W84°
398 748 ft     112 ft    0:00:01 77 mph true                     09:42:28 PM   58.649'
                                        288.6°                   14-Feb-2024   N35° 20.887' W84°
399 750 ft     112 ft    0:00:01 77 mph true                     09:42:29 PM   58.670'
                                        283.3°                   14-Feb-2024   N35° 20.893' W84°
400 751 ft     113 ft    0:00:01 77 mph true                     09:42:30 PM   58.691'
                                        283.2°                   14-Feb-2024   N35° 20.897' W84°
401 753 ft     113 ft    0:00:01 77 mph true                     09:42:31 PM   58.713'
                                        283.6°                   14-Feb-2024   N35° 20.901' W84°
402 757 ft     0.3 mi    0:00:12 79 mph true                     09:42:32 PM   58.735'
                                        285.1°                   14-Feb-2024   N35° 20.955' W84°
403 795 ft     0.2 mi    0:00:08 74 mph true                     09:42:44 PM   59.008'
                                        298.8°                   14-Feb-2024   N35° 20.992' W84°
404 811 ft     0.1 mi    0:00:07 75 mph true                     09:42:52 PM   59.177'
                                        309.0°                   14-Feb-2024   N35° 21.053' W84°
405 835 ft     0.2 mi    0:00:08 75 mph true                     09:42:59 PM   59.313'
                                        322.8°                   14-Feb-2024   N35° 21.145' W84°
406 802 ft     108 ft    0:00:01 74 mph true                     09:43:07 PM   59.451'
                                        332.3°                   14-Feb-2024   N35° 21.159' W84°
407 798 ft     0.1 mi    0:00:05 72 mph true                     09:43:08 PM   59.464'
                                        350.9°                   14-Feb-2024   N35° 21.236' W84°
408 784 ft     0.1 mi    0:00:06 73 mph true                     09:43:13 PM   59.514'
                                        354.4°                   14-Feb-2024   N35° 21.340' W84°
409 786 ft     0.1 mi    0:00:06 61 mph true                     09:43:19 PM   59.534'
                                        349.4°                   14-Feb-2024   N35° 21.428' W84°
410 781 ft     0.1 mi    0:00:09 49 mph true                     09:43:25 PM   59.545'
                                        352.9°                   14-Feb-2024   N35° 21.532' W84°
411 768 ft     330 ft    0:00:04 56 mph true                     09:43:34 PM   59.569'
                                        358.7°                   14-Feb-2024   N35° 21.585' W84°
412 764 ft     93 ft     0:00:01 63 mph true                     09:43:38 PM   59.577'
                                                                 14-Feb-2024   N35° 21.601' W84°
413 764 ft     95 ft     0:00:01 65 mph 0.9° true                09:43:39 PM   59.577'
                                        11.6°                    14-Feb-2024   N35° 21.616' W84°
414 762 ft     98 ft     0:00:01 67 mph true                     09:43:40 PM   59.577'
                                        12.8°                    14-Feb-2024   N35° 21.632' W84°
415 762 ft     99 ft     0:00:01 68 mph true                     09:43:41 PM   59.573'
                                        18.2°                    14-Feb-2024   N35° 21.648' W84°
416 761 ft     98 ft     0:00:01 67 mph true                     09:43:42 PM   59.569'
                                        25.8°                    14-Feb-2024   N35° 21.663' W84°
417 761 ft     0.1 mi    0:00:06 67 mph true                     09:43:43 PM   59.562'

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                                        25.1°                    14-Feb-2024   N35° 21.750' W84°
418 768 ft     0.2 mi    0:00:09 66 mph true                     09:43:49 PM   59.511'
                                                                 14-Feb-2024   N35° 21.879' W84°
419 783 ft     98 ft     0:00:01 67 mph 9.8° true                09:43:58 PM   59.437'
                                                                 14-Feb-2024   N35° 21.895' W84°
420 784 ft     394 ft    0:00:04 67 mph 6.9° true                09:43:59 PM   59.434'
                                        351.6°                   14-Feb-2024   N35° 21.959' W84°
421 794 ft     92 ft     0:00:01 62 mph true                     09:44:03 PM   59.424'
                                        351.9°                   14-Feb-2024   N35° 21.974' W84°
422 794 ft     90 ft     0:00:01 62 mph true                     09:44:04 PM   59.427'
                                        340.2°                   14-Feb-2024   N35° 21.988' W84°
423 792 ft     85 ft     0:00:01 58 mph true                     09:44:05 PM   59.429'
                                        333.5°                   14-Feb-2024   N35° 22.002' W84°
424 791 ft     85 ft     0:00:01 58 mph true                     09:44:06 PM   59.435'
                                        326.5°                   14-Feb-2024   N35° 22.014' W84°
425 787 ft     91 ft     0:00:01 62 mph true                     09:44:07 PM   59.443'
                                        316.6°                   14-Feb-2024   N35° 22.027' W84°
426 784 ft     89 ft     0:00:01 61 mph true                     09:44:08 PM   59.453'
                                        313.6°                   14-Feb-2024   N35° 22.037' W84°
427 781 ft     97 ft     0:00:01 66 mph true                     09:44:09 PM   59.465'
                                        313.5°                   14-Feb-2024   N35° 22.048' W84°
428 778 ft     100 ft    0:00:01 68 mph true                     09:44:10 PM   59.479'
                                        319.2°                   14-Feb-2024   N35° 22.059' W84°
429 775 ft     0.1 mi    0:00:06 72 mph true                     09:44:11 PM   59.494'
                                        325.9°                   14-Feb-2024   N35° 22.139' W84°
430 776 ft     0.1 mi    0:00:07 76 mph true                     09:44:17 PM   59.578'
                                        327.4°                   14-Feb-2024   N35° 22.245' W84°
431 768 ft     0.2 mi    0:00:09 83 mph true                     09:44:24 PM   59.667'
                                        331.9°                   14-Feb-2024   N35° 22.398' W84°
432 732 ft     116 ft    0:00:01 79 mph true                     09:44:33 PM   59.786'
                                        338.2°                   14-Feb-2024   N35° 22.414' W84°
433 731 ft     0.2 mi    0:00:08 79 mph true                     09:44:34 PM   59.797'
                                        334.2°                   14-Feb-2024   N35° 22.555' W84°
434 738 ft     0.2 mi    0:00:08 81 mph true                     09:44:42 PM   59.866'
                                        332.7°                   14-Feb-2024   N35° 22.696' W84°
435 724 ft     0.2 mi    0:00:10 82 mph true                     09:44:50 PM   59.949'
                                        333.5°                   14-Feb-2024   N35° 22.872' W85°
436 738 ft     0.4 mi    0:00:18 82 mph true                     09:45:00 PM   00.061'
                                        332.4°                   14-Feb-2024   N35° 23.191' W85°
437 792 ft     0.4 mi    0:00:19 80 mph true                     09:45:18 PM   00.256'
                                        332.6°                   14-Feb-2024   N35° 23.518' W85°
438 789 ft     0.3 mi    0:00:16 76 mph true                     09:45:37 PM   00.465'

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                                        152.5°                   14-Feb-2024   N35° 23.414' W85°
460 791 ft     0.3 mi    0:00:18 57 mph true                     10:00:04 PM   00.399'
                                        153.5°                   14-Feb-2024   N35° 23.196' W85°
461 789 ft     0.3 mi    0:00:20 55 mph true                     10:00:22 PM   00.259'
                                        154.1°                   14-Feb-2024   N35° 22.957' W85°
462 743 ft     244 ft    0:00:04 42 mph true                     10:00:42 PM   00.113'
                                        163.3°                   14-Feb-2024   N35° 22.921' W85°
463 740 ft     29 ft     0:00:01 20 mph true                     10:00:46 PM   00.092'
                                        10.6°                    14-Feb-2024   N35° 22.917' W85°
464 740 ft     32 ft     0:00:01 22 mph true                     10:00:47 PM   00.090'
                                        56.9°                    14-Feb-2024   N35° 22.922' W85°
465 742 ft     12 ft     0:00:01 8 mph true                      10:00:48 PM   00.089'
                                        57.8°                    14-Feb-2024   N35° 22.923' W85°
466 742 ft     15 ft     0:00:01 10 mph true                     10:00:49 PM   00.087'
                                        56.1°                    14-Feb-2024   N35° 22.924' W85°
467 742 ft     19 ft     0:00:01 13 mph true                     10:00:50 PM   00.084'
                                        50.5°                    14-Feb-2024   N35° 22.926' W85°
468 743 ft     83 ft     0:00:03 19 mph true                     10:00:51 PM   00.081'
                                        39.5°                    14-Feb-2024   N35° 22.935' W85°
469 745 ft     38 ft     0:00:01 26 mph true                     10:00:54 PM   00.068'
                                        38.9°                    14-Feb-2024   N35° 22.939' W85°
470 745 ft     40 ft     0:00:01 27 mph true                     10:00:55 PM   00.063'
                                        33.9°                    14-Feb-2024   N35° 22.944' W85°
471 745 ft     40 ft     0:00:01 27 mph true                     10:00:56 PM   00.058'
                                                                 14-Feb-2024   N35° 22.950' W85°
472 745 ft     44 ft     0:00:01 30 mph 7.8° true                10:00:57 PM   00.054'
                                                                 14-Feb-2024   N35° 22.957' W85°
473 746 ft     46 ft     0:00:01 31 mph 7.4° true                10:00:58 PM   00.053'
                                                                 14-Feb-2024   N35° 22.965' W85°
474 746 ft     49 ft     0:00:01 33 mph 7.7° true                10:00:59 PM   00.051'
                                                                 14-Feb-2024   N35° 22.973' W85°
475 748 ft     51 ft     0:00:01 35 mph 7.7° true                10:01:00 PM   00.050'
                                        11.5°                    14-Feb-2024   N35° 22.981' W85°
476 746 ft     516 ft    0:00:09 39 mph true                     10:01:01 PM   00.049'
                                        22.5°                    14-Feb-2024   N35° 23.064' W85°
477 740 ft     0.2 mi    0:00:13 45 mph true                     10:01:10 PM   00.028'
                                        16.9°                    14-Feb-2024   N35° 23.195' W84°
478 756 ft     0.1 mi    0:00:12 42 mph true                     10:01:23 PM   59.961'
                                        355.5°                   14-Feb-2024   N35° 23.310' W84°
479 767 ft     317 ft    0:00:07 31 mph true                     10:01:35 PM   59.918'
                                                                 14-Feb-2024   N35° 23.362' W84°
480 761 ft     266 ft    0:00:05 36 mph 1.0° true                10:01:42 PM   59.923'

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                                        15.9°                    14-Feb-2024   N35° 23.406' W84°
481 756 ft     60 ft     0:00:01 41 mph true                     10:01:47 PM   59.922'
                                        15.9°                    14-Feb-2024   N35° 23.415' W84°
482 756 ft     62 ft     0:00:01 42 mph true                     10:01:48 PM   59.919'
                                        16.3°                    14-Feb-2024   N35° 23.425' W84°
483 756 ft     62 ft     0:00:01 42 mph true                     10:01:49 PM   59.916'
                                        24.3°                    14-Feb-2024   N35° 23.435' W84°
484 757 ft     65 ft     0:00:01 44 mph true                     10:01:50 PM   59.912'
                                        24.3°                    14-Feb-2024   N35° 23.444' W84°
485 757 ft     0.1 mi    0:00:09 44 mph true                     10:01:51 PM   59.907'
                                                                 14-Feb-2024   N35° 23.531' W84°
486 738 ft     46 ft     0:00:01 31 mph 2.6° true                10:02:00 PM   59.859'
                                                                 14-Feb-2024   N35° 23.539' W84°
487 737 ft     37 ft     0:00:01 25 mph 0.0° true                10:02:01 PM   59.858'
                                        317.8°                   14-Feb-2024   N35° 23.545' W84°
488 735 ft     30 ft     0:00:01 21 mph true                     10:02:02 PM   59.858'
                                        317.9°                   14-Feb-2024   N35° 23.548' W84°
489 734 ft     36 ft     0:00:01 25 mph true                     10:02:03 PM   59.862'
                                        317.5°                   14-Feb-2024   N35° 23.553' W84°
490 734 ft     40 ft     0:00:01 27 mph true                     10:02:04 PM   59.867'
                                        317.6°                   14-Feb-2024   N35° 23.558' W84°
491 735 ft     45 ft     0:00:01 31 mph true                     10:02:05 PM   59.873'
                                        323.8°                   14-Feb-2024   N35° 23.563' W84°
492 737 ft     446 ft    0:00:08 38 mph true                     10:02:06 PM   59.879'
                                        326.6°                   14-Feb-2024   N35° 23.622' W84°
493 732 ft     75 ft     0:00:04 13 mph true                     10:02:14 PM   59.932'
                                        326.5°                   14-Feb-2024   N35° 23.633' W84°
494 727 ft     102 ft    0:00:09 8 mph true                      10:02:18 PM   59.940'
                                        326.6°                   14-Feb-2024   N35° 23.647' W84°
495 724 ft     340 ft    0:00:06 39 mph true                     10:02:27 PM   59.952'
                                        326.7°                   14-Feb-2024   N35° 23.693' W84°
496 710 ft     0.2 mi    0:00:12 52 mph true                     10:02:33 PM   59.989'
                                        328.5°                   14-Feb-2024   N35° 23.818' W85°
497 705 ft     0.2 mi    0:00:14 56 mph true                     10:02:45 PM   00.090'
                                        337.8°                   14-Feb-2024   N35° 23.978' W85°
498 732 ft     0.2 mi    0:00:11 52 mph true                     10:02:59 PM   00.210'
                                        333.7°                   14-Feb-2024   N35° 24.106' W85°
499 729 ft     0.2 mi    0:00:11 55 mph true                     10:03:10 PM   00.274'
                                        337.8°                   14-Feb-2024   N35° 24.236' W85°
500 712 ft     0.2 mi    0:00:10 54 mph true                     10:03:21 PM   00.353'
                                        347.4°                   14-Feb-2024   N35° 24.357' W85°
501 701 ft     0.1 mi    0:00:08 56 mph true                     10:03:31 PM   00.414'

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Likewise, the data shows that the device traveled to the Blythe’s Ferry boat vicinity on 12/17/2023 at 9:55 PM,
followed by an immediate 180 out of the area of the boat ramp. After leaving the ramp the device traveled to the
Hwy 60 bridge before turning around.




Figure 10 Prior trips to the vicinity of Blythe's Ferry ramp on 12/15/2023 and 12/17/2023




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Figure 11 GPS at Blythe’s Ferry 12/17/2023 @9:55 PM




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Figure 12 GPS Location 12/16/2023 @ 4:58 AM
Data also shows that the device traveled through the intersection where a left turn goes to the boat ramp and a
right turn then travels toward the jail. The data was plotted on Google Earth due to its demonstrative accuracy
versus that of BaseCamp. The dates of travel noted are:
12/15/2023
12/17/2023
12/25/2023
12/29/2023
1/9/2024
1/31/2024
2/7/2024
2/11/2024



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                        Figure 13 Overall view in Google Earth




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Figure 14 Intersection view of prior trackpoints for the date range of 12/15/2023 through 2/11/2024




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                                               Data Validation
The data recovered from this device on 2/14/2024 are validated by other data known through points in time
through investigation. It is known that Leonard was at his residence having dinner at 9:30 PM according to
witness statements, this correlates with the Garmin data. It is known that Leonard was dispatched to the Hwy 60
Bridge at 9:32 PM through dispatch and he responded enroute, this correlates with the Garmin data. It is known
that Leonard arrived in the area of the call at 9:46 PM, this correlates with the Garmin data. At 9:47 PM ,
Leonard reports contact on the bridge, this correlates with the Garmin data. At 9:58 PM, Leonard reports travel
to the Sheriff’s Office with a prisoner, this correlates with the Garmin data. At 10:03:58 PM Leonard reports
“water,” this correlates with the Garmin data.
On 2/14/2024 search teams requested cellphone location for Leonard’s Verizon cellphone. Federal assets were
requested to find the approximate location of the device. At 10:03 PM the device was found at the boat ramp on
Blythe’s Ferry Road, this correlates with the Garmin data.
10:03 PM This image was supplied to DTF Deputy Director Brendan DeBoer from federal partners utilizing
technology to obtain location data from RJ LEONARD’s cellular records. This is the last
known location of LEONARD’s iPhone prior to finding the physical device in the water.




Figure 15 Cell map received 2/14/2024 for 10:03 PM

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                                                 Part 2 iPhone
The data referenced in this report was collected from a forensic extraction of RJ Leonard's iPhone. The device
was recovered from Leonard's tactical vest and extracted by the Tennessee Highway Patrol. This report is
generated to narrow the data for the time period of 2/14/2024 from 9:30 PM to 11:59 PM. The report has been
evaluated and redacted to eliminate the release of personal or non-relevant information prior to public
dissemination. Leonard’s device was extracted by the Tennessee Highway patrol and that file shared with the
author of this report in addition to a 75,000+ page report summarizing the entire contents of the device at a full
file system level. The password to this device was obtained by THP through the officer’s widow. This report
contains screen captures from forensic tools and inserted into this document for demonstrative purposes.
Magnet Process was utilized to parse the data and Magnet Axiom was utilized to examine the data. Lastly,
Magnet Examine was utilized to filter the data within the parameters of 9:30 PM to 11:59 PM on the date of the
crash.
Device Information
iPhone 14 Plus
IMEI 356806354017469
Extraction size 75.4 GB
Examiner Name: TFO James Knipper (Extracted device)
Tools utilized
EDAS Fox Forensic Machine
Magnet Axiom Process and Examine Software Version 8.3.1.41227
Google Earth Pro 7.3.6.9796
Files received from the Tennessee Highway Patrol included in this examination
00008110-000A51D8028A201E_files_full.zip             75.4 GB        4/2/24, 11:08:38 AM
00008110-000A51D8028A201E_keychain.plist             4.0 MB         4/2/24, 10:34:02 AM
00008110-000A51D8028A201E_passwords.txt              185 kB 4/2/24, 10:34:08 AM
00008110-000A51D8028A201E.pdf 866 kB 4/2/24, 10:34:12 AM




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                                                   Findings
The findings in this exam will come from several artifacts relevant to the accident on 2/14/2024 that occurred
around 10:04 PM leading to the death of Leonard and Smith. The findings will include phone usage before the
accident and just prior to when the 911 call was received by dispatch.
                                                   Location
The data recovered from Leonard’s iPhone further validates the findings recovered from other sources. It shows
that he was at his residence at 9:30 PM and traveled to the Highway 60 Bridge. While the location data is less
precise than the Garmin unit, the mapped data clearly shows the route of travel from his home to the bridge and
known point of Leonard’s interaction and arrest of Smith, then to the Blythe Ferry boat ramp accident site.




Data recovered from the device suggests that Leonard used iOS maps to navigate to the area of Blythe Ferry:




                                                      46

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                                     Messages Calls and Communications
During the police action the device contains evidence that Leonard used his cellphone to communicate with his
wife and fellow officer that was said to be covering the North End of Meigs County.
                                                                                                             ↗ Sent
During the shift Leonard and Officer Ben Christian aka Cornbread utilized a messaging application.
Below is a verbatim narrative of the data recovered:

RJ Leonard (777500743)
                                                                                        2/14/2024 8:48:39.521 PM
Hey, the brakes on this car starting to get a little noisy. Would have Swafford take a look at it when I get out of i
t.
                                                                                                        ↙ Received
Ben Christian (100014059908186)
                                                                                        2/14/2024 8:49:16.696 PM
Hey, I tried to answer. My wifi isn't working good tonight.
Are they real bad?
                                                                                                             ↗ Sent
RJ Leonard (777500743)
                                                                                        2/14/2024 8:50:46.790 PM
No. I just wanted to make sure someone knows about it.
                                                                                                        ↙ Received
Ben Christian (100014059908186)
                                                                                        2/14/2024 8:52:08.576 PM
Cool. If they need it we can get them changed right away. If not then I'll definitely have him look at it as soon a
s you get out of it.
                                                                                                             ↗ Sent
RJ Leonard (777500743)
                                                                                        2/14/2024 8:52:33.895 PM
I think they said I should be good to go Friday or Monday.
                                                         47

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                                                                                                     ↙ Received
Ben Christian (100014059908186)
                                                                                        2/14/2024 8:53:00.013 PM
Sweet
                                                                                                     ↙ Received
Ben Christian (100014059908186)
                                                                                        2/14/2024 9:53:38.630 PM
She is a habitual meth/fentanyl user

                                                                                                          ↗ Sent
RJ Leonard (777500743)
                                                                                        2/14/2024 9:56:46.797 PM
She’s going to jail
                                                                                                     ↙ Received
Ben Christian (100014059908186)
                                                                                        2/14/2024 9:58:18.304 PM
Arrested on valentines day 😂😂😂😂😂😂
                                                                                                          ↗ Sent
RJ Leonard (777500743)
                                                                                        2/14/2024 9:58:50.725 PM
Yea she’s walking into traffic on the bridge.
                                                                                                          ↗ Sent
RJ Leonard (777500743)
                                                                                        2/14/2024 9:59:11.452 PM
Walked in front of me too with my lights on.
                                                                                                     ↙ Received
Ben Christian (100014059908186)
                                                                                        2/14/2024 9:59:32.989 PM
Damn. Definitely public intox


One call is noted in the data with a call to Cornbread with a duration of 42 seconds:




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During the encounter with Smith, Leonard requested a photo of Smith from dispatch and received the following
response to Leonard’s iPhone:

Dispatch (+14234352570)
                                                                                    2/14/2024 9:53:40.000 PM




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From 9:30 PM Leonard interacted with his spouse via text message. The message thread is below.
RJ Leonard
                                                                                  2/14/2024 10:03:12.000 PM
Arrest.
                                                                                                  ↙ Received
Spouse
                                                                                  2/14/2024 10:05:30.000 PM
Noice


The last relevant forensic artifact noted on this device is the Powerlog Device Lock State. According to data
recovered from the device the phone entered locked state at 10:03:36 PM which is 24 seconds after the last
message that went to his spouse at 10:03:12 PM and 46 seconds before Leonard radios ‘water’ at 10:03:58 PM.




End Report


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Forensic Examiner and Agent
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